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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE NO. 1:20-cr-183
v.
                                                              HON. ROBERT J. JONKER
ADAM DEAN FOX,
BARRY GORDON CROFT, JR.,
DANIEL JOSEPH HARRIS and
BRANDON MICHAEL-RAY CASERTA,

            Defendants.
___________________________________/

                                              ORDER

         There appearing to be no further complications from the issue that caused a delay in trial,

trial shall resume on March 17, 2022 at 8:30 a.m.




Dated: March 16, 2022                          /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
